           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:07CR123

UNITED STATES OF AMERICA,                     )
                                              )
Vs.                                           )     ORDER STRIKING
                                              )     PREVIOUS ORDER,
WESTERN AMUSEMENT, INC.                       )     AMENDING DOCKET
                                              )     ENTRY, and
_______________________________               )     ALLOWING MOTION

        THIS MATTER is before the court upon Robert B. Long, Jr.’s and Andrew

B. Parker’s Motion to Withdraw as Counsel. Having considered Robert B. Long,

Jr.’s and Andrew B. Parker’s Motion to Withdraw as Counsel and reviewed the

pleadings, and it appearing that good cause has been shown for the relief sought, such

motion will be allowed.

        The court will strike its earlier Order (#112) dated February 25, 2008, as

improvidently entered. The court apologizes to defendant’s counsel for its statement

that defendant had filed such motion in error, when in fact the error was one created

by the Court. The Clerk of this court will be instructed to modify docket entry 71 to

accurately reflect that such motion applied only to defendant Jack Willis Shepherd

and not Western Amusement, Inc.




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                                ORDER

  IT IS, THEREFORE, ORDERED that

  (1)   Robert B. Long, Jr.’s and Andrew B. Parker’s Motion to Withdraw as

        Counsel is GRANTED, and Robert B. Long, Jr., and Andrew B. Parker

        are RELIEVED from further representation of defendant Western

        Amusement, Inc., in this matter;

  (2)   the court’s previous Order (#112) is STRICKEN; and

  (3)   the Clerk of this court is respectfully instructed to amend its docket

        entry for pleading number 71 to reflect that such motion only applied to

        defendant Jack Willis Shepherd.



                                    Signed: February 25, 2008




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